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                                            September 15, 2023


Magistrate Judge Leo I. Brisbois
Room 412
Gerald W. Heaney Federal Building and U.S. Courthouse
515 First Street
Duluth, MN 55802

Re:    0:23-cr-193-PJS-LIB
       United States v. Terry Jon Martin

Dear Honorable Magistrate Judge Brisbois:

       The United States is filing this letter notifying the Court that the United States has
no motions to file in the above-captioned case. The undersigned has conferred with
counsel for Terry Martin who asked that this letter indicate the defense will not be filing
any discovery motions and the parties agree a motions hearing is not necessary.

                                           Sincerely,

                                           MAC SCHNEIDER
                                           United States Attorney

                                    By:    __________________________
                                           /s/ Matthew D. Greenley
                                           MATTHEW D. GREENLEY
                                           Assistant United States Attorney
                                           Acting under 28 U.S.C. § 515

MDG/vlt
